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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.      19-8100-WM


 UNITED STATES OF AMERICA,

          Plaintiff,

 vs.

 YUJING ZHANG,

       Defendant.
 ___________________________________/


                              NOTICE OF ASSIGNMENT

          The above captioned case has been assigned to the Assistant Federal Public

 Defender specified below.

          Please send all notices and inquiries to this attorney at the address listed

 below.

                                               Respectfully submitted,

                                               MICHAEL CARUSO
                                               FEDERAL PUBLIC DEFENDER

                                               By: s/Robert E. Adler
                                               Robert E. Adler
                                               Assistant Federal Public Defender
                                               Attorney for Defendant
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                                               450 S Australian Avenue, Suite 500
                                               West Palm Beach, Florida 33401
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                            CERTIFICATE OF SERVICE

       I HEREBY certify that on April 2, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.           I also certify that the

 foregoing document is being served this day on all counsel of record via transmission

 of Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically

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                                        s/Robert E. Adler
                                        Robert E. Adler




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